                    IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

                               Plaintiff,

vs.                                                             CR. NO. 19-CR-4440 MV


NICHOLOUS PHILLIPS,


         RESPONSE TO NOTICE OF INTENT TO INTRODUCE
 EVIDENCE OF DEFENDANT’S PROR BAD ACTS PURSUANT TO FEDERAL
                   RULE OF EVIDENCE 404(b)

       Defendant Nicholous Phillips (Mr. Phillips), by and through counsel, Romero &

Winder, PC (Joe M. Romero, Jr.), responds as set forth below to the government’s Notice

of Intent to Introduce Evidence of Defendant’s Prior Bad Acts Pursuant to Federal Rule of

Evidence 404(b) (Doc. 44).

FACTUAL BACKGROUND

       Mr. Phillips is charged in a Superseding Indictment with being a Felon in

Possession of a Firearm, in violation of 18 U.S.C. § 922(g) and with Possession with

Intent to Distribute 50 Grams and More of Methamphetamine, in violation of 21 U.S.C. §

21 U.S.C. 841(a)(1).

       In its notice, the government states that it intends to introduce evidence of

Defendant’s prior drug possession and drug trafficking convictions, as well as evidence of his

two-prior felon in possession of a firearms convictions. Mr. Phillips opposes such proposed

admission.
       The prior drug convictions which the government seeks to introduce in their case-in-

chief are over sixteen years old. The state drug possession conviction, a fourth-degree felony,

occurred on 1 November 2003. The state drug trafficking conviction, a second-degree felony,

occurred on 4 December 2003

       The prior felon in possession of a firearm convictions occurred, respectively on 31

March 2006 (state conviction) and 3 October 2009 (federal conviction). On these two

occasions, when in possession of a firearm, Mr. Phillips was not in possession of illegal drugs

nor engaged in a drug trafficking crime.

ARGUMENT

       The Federal Rule of Evidence 404(b) (“Rule 404(b)”) provides that “[e]vidence of

a crime, wrong, or other act is not admissible to prove a person’s character in order to

show that on a particular occasion the person acted in accordance with the character.” By

its plain terms, Rule 404(b) mandates that “[e]vidence of other crimes, wrongs, or acts is

not admissible to prove the character of a person in order to show action in conformity

therewith,” instead of restricting itself to evidence proving “the character of the accused.”

United States v. Lucas, 357 F.3d 599, 605 (6th Cir. 2004) (emphasis in original).

       The Supreme Court has enunciated a four-part process to determine whether

evidence is admissible under rule 404(b). See Huddleston v. United States, 485 U.S. 681,

691-92 (1988). The Tenth Circuit also applies this test:

       To determine whether Rule 404(b) evidence was properly admitted
       we look to [a] four-part test . . . . This test requires that: (1) the
       evidence must be offered for a proper purpose; (2) the evidence
       must be relevant; (3) the trial court must make a Rule 403
       determination of whether the probative value of the similar acts is
       substantially outweighed by its potential for unfair prejudice; and
       (4) pursuant to Fed. R. Evid. 105, the trial court shall, upon
       request, instruct the jury that evidence of similar acts is to be
       considered only for the proper purpose for which it was admitted.


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United States v. Zamora, 222 F.3d 756, 762 (10th Cir. 2000)

       The Advisory Committee Notes to Rule 404 recognize that the “circumstantial

use of character evidence is generally discouraged because it carries serious risks of

prejudice, confusion and delay.” See Michelson v. United States, 335 U.S. 469, 476

(1948). In this case, regardless of the stated purpose proffered by the government in

support of the admissibility of the prior acts evidence, the admission of such prior acts

evidence will result in a serious risk of prejudice to Mr. Phillips. It would allow the jury

to focus on factually distinct prior acts all of which occurred over ten (10) years ago. The

jury would then use such prior acts as a “short-cut” basis to believe that Mr. Phillips

acted in conformity therewith on 15 November 2019.

       Pursuant to Federal Rule of Evidence 403 (“Rule 403”), this Court may exclude

relevant evidence if its probative value is substantially outweighed by a danger of one or

more of the following: unfair prejudice, confusing the issues, misleading the jury, undue

delay, wasting time, or needlessly presenting cumulative evidence.” Fed. R. Evid. 403.

       Under rule 403, the trial court must weigh the proffered evidence’s probative

value against its potential for unfair prejudice. See United States v. Record, 873 F.2d

1363, 1375 (10th Cir. 1989). As the Supreme Court of the United States has noted:

       In deference to a district court’s familiarity with the details of the
       case and its greater experience in evidentiary matters, courts of
       appeals afford broad discretion to a district court’s evidentiary
       rulings . . . . This is particularly true with respect to Rule 403 since
       it requires an “on-the-spot balancing of probative value and
       prejudice, potentially to exclude as unduly prejudicial some
       evidence that already has been found to be factually relevant.”

Sprint/United Mgmt. Co. v. Mendelsohn, 552 U.S. 379, 384 (2008)




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       Evidence may be unfairly prejudicial if it would likely provoke an emotional

response from the jury or would otherwise tend to adversely affect the jury’s attitude

toward a particular matter. See United States v. Rodriguez, 192 F.2d 946, 951 (10th Cir.

1999). Evidence is unfairly prejudicial if “the evidence must have ‘an undue tendency to

suggest decision on an improper basis, commonly, though not necessarily, an emotional

one.’” United States v. Caraway, 453 F.3d 1290, 1301 (quoting Fed. R. Evid. 403

advisory committee’s notes).

       Based on the foregoing, Mr. Phillips respectfully requests that these prior

convictions not be admitted in the government’s case-in-chief at Mr. Phillips’ trial.


                                              Respectfully Submitted:

                                      By:      /s/ Joe M. Romero, Jr.
                                              Joe M. Romero, Jr.
                                              ROMERO & WINDER, PC
                                              Attorney for Defendant
                                              P.O. Box 25543
                                              Albuquerque, NM 87125
                                              Phone: (505) 843-9776
                                              Fax: (505) 212-0273
                                              joe@romeroandwinder.com




                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 29th day of June 2020, I filed the foregoing
electronically through the CM/ECF system, and served the same to opposing counsel,
AUSA Jaymie Roybal

By:    /s/ Joe M. Romero, Jr.
       Joe M. Romero, Jr.




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